
PER CURIAM.
Marbin Villacorta appeals the summary denial of his motion for postconviction relief. We affirm. However, we note that Mr. Villacorta’s time limit to file a motion pursuant to Florida Rule of Criminal Procedure 3.850(b) does not expire until March 23, 2015. Accordingly, our affir-mance is without prejudice to Mr. Villacor-ta’s right to file a properly sworn motion for postconviction relief on or before that date. Any claim raised in such a motion shall not be deemed successive unless it duplicates grounds three or four of the amended motion that was the subject of the order on appeal.
ALTENBERND, CASANUEVA, and WALLACE, JJ., Concur.
